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 2
                                   UNITED STATES DISTRICT COURT
 3
                                            DISTRICT OF NEVADA
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 5
       Melvin Washington,                                     Case No. 2:23-cv-00910-GMN-DJA
 6
                               Plaintiff,
 7                                                                   Report and Recommendation
             v.
 8
       Division of Welfare and Supportive Services –
 9     Nevada, Cambridge,
10                             Defendant.
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             On June 28, 2024, the Court gave Plaintiff an additional chance to accomplish service and
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      ordered Plaintiff to do so by July 29, 2024. (ECF No. 24). The Court explained that “[f]ailure to
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      comply with this order will result in a recommendation of dismissal to the district judge.” (Id.).
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      To date, Plaintiff has not filed anything further in this action.
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             Accordingly, the undersigned RECOMMENDS that this case be DISMISSED without
17
      prejudice. The Clerk of Court is kindly directed to send this recommendation to Plaintiff.
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19
                                                     NOTICE
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             Pursuant to Local Rule IB 3-2 any objection to this Report and Recommendation must be
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      in writing and filed with the Clerk of the Court within (14) days after service of this Notice. The
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      Supreme Court has held that the courts of appeal may determine that an appeal has been waived
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      due to the failure to file objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142
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      (1985), reh’g denied, 474 U.S. 1111 (1986). The Ninth Circuit has also held that (1) failure to file
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      objections within the specified time and (2) failure to properly address and brief the objectionable
26    issues waives the right to appeal the District Court’s order and/or appeal factual issues from the
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 1    order of the District Court. Martinez v. Ylst, 951 F.2d 1153, 1157 (9th Cir. 1991); Britt v. Simi

 2    Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).

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 4           DATED: July 31, 2024

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 7                                                         DANIEL J. ALBREGTS
                                                           UNITED STATES MAGISTRATE JUDGE
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